       Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 1 of 27



             BEFORE THE UNITED STATES JUDICIAL PANEL ON
                     MULTIDISTRICT LITIGATION


IN RE: COVID-19 GAP LEASE                MDL NO. 2960
PAYMENT LITIGATION

                                         Master Docket No.
                                         1:20-cv-04541-LTS-KHP (S.D.N.Y.)

______________________________________

    MEMORANDUM OF DEFENDANT PONTE GADEA NEW YORK, LLC IN
 OPPOSITION TO PLAINTIFF’S MOTION TO TRANSFER UNDER 28 U.S.C. § 1407



                       ORAL ARGUMENT REQUESTED
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 2 of 27




                                             TABLE OF CONTENTS

                                                                                                                               Page

I.     INTRODUCTION ................................................................................................1
II.    BACKGROUND ..................................................................................................4
III.   LEGAL STANDARD ...........................................................................................5
IV.    DISCUSSION......................................................................................................6
       A.       Individual Questions of Fact Predominate Over Common Facts (If Any), and
                Questions of Law Predominate Over Both ............................................................. 6
                1.     The Relevant Questions of Fact are Uncommon, Individualized, or
                       Admitted ..................................................................................................... 7
                2.     The Rent Disputes’ limited factual issues are neither novel nor
                       complex ..................................................................................................... 11
                3.     The procedural history to date demonstrates transfer is unnecessary ....... 12
                4.     Legal Issues Predominate Over Factual Issues ......................................... 14
                5.     Transfer is Especially Unsuitable when the Legal Issues are Governed
                       by Different State’s laws ........................................................................... 16
       B.       Centralization Would Also Be Inconvenient, Inefficient, and Unjust .................. 17
       C.       Transfer to the N. D. of California Undermines the Goals of 28 U.S.C. § 1407 .. 20
V.     CONCLUSION .................................................................................................20




                                                                i
              Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 3 of 27




                                                  TABLE OF AUTHORITIES

Cases ..................................................................................................................................... Page(s)

48th Americas LLC v. The Gap, Inc.,
   20-cv-3471 (S.D.N.Y.).............................................................................................................13

Anschutz Corp. v. Merrill Lynch & Co.,
   690 F.3d 98 (2d Cir. 2012).......................................................................................................19

Banana Republic, LLC v. RCPI Landmark Props., LLC,
   Index No. 653475/2020 (Sup. Ct. New York Cty) ..............................................................8, 13

Bank of Am. Nat. Tr. & Sav. Ass’n v. Envases Venezolanos, S.A.,
   740 F. Supp. 260 (S.D.N.Y. 1990) ..........................................................................................15

Culver & Theisen, Inc. v. Starr Realty Company (NE) LLC,
   307 A.D.2d 910 (2d Dep’t 1994) .............................................................................................15

Erie Railroad v. Tompkins,
    304 U.S. 64 (1938) ...................................................................................................................19

IDT Corp. v. Morgan Stanley Dean Witter & Co.,
   12 N.Y.3d 132 (2009) ..............................................................................................................15

In re Abbott Labs., Inc., Similac Prods. Liab. Litig.,
    763 F. Supp. 2d 1376 (J.P.M.L. 2011)...................................................................................6, 7

In re AT&T Mobility Wireless Data Servs. Sales Tax Litig.,
    710 F. Supp. 2d 1378 (J.P.M.L. 2010).......................................................................................2

In re Best Buy Co., Inc., Cal. Song-Beverly Credit Card Act Litig.,
    804 F. Supp. 2d 1376 (J.P.M.L. 2011)...................................................................................5, 6

In re Cessna Aircraft Distrib. Antitrust Litig.,
    460 F. Supp. 159 (J.P.M.L. 1978)............................................................................................17

In re Concrete Pipe,
    302 F. Supp. 244 (J.P.M.L 1969).........................................................................................6, 19

In re COVID-19 Bus. Interruption Protection Ins. Litig.,
    MDL. No. 2942, 2020 WL 4670700 (J.P.M.L. Aug. 12, 2020) ..............................................10

In re Eli Lilly and Co. (Cephalexin Monohydrate) Patent Litig.,
    446 F. Supp. 242 (J.P.M.L. 1978)........................................................................................5, 18

In re Falstaff Brewing Corp. Antitrust Litig.,
    434 F. Supp. 1225 (J.P.M.L 1977).............................................................................................6


                                                                        ii
             Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 4 of 27



In re Garrison Diversion Unit Litig.,
    458 F. Supp. 223 (J.P.M.L. 1978)..............................................................................................6

In re: Gerber Probiotic Prods. Mktg. & Sales Practices Litig.,
    899 F. Supp. 2d 1378 (J.P.M.L. 2012).....................................................................................18

In re HealthExtras Ins. Mktg. & Sales Practice Litig.,
    24 F. Supp. 3d 1376 (J.P.M.L. 2014).......................................................................................16

In re: Hercules Offshore, Sec. and Derivative Litig.,
    816 F Supp 2d 1377 (J.P.M.L. 2011).......................................................................................12

In re Hitz Rest. Group,
    616 B.R. 374 (Bankr. N.D. Ill. 2020) ......................................................................................14

In re JumpSport, Inc. (‘845 & ‘207) Patent Litig.,
    338 F. Supp. 3d 1356 (J.P.M.L. 2018).....................................................................................12

In re Live Face on Web, LLC, Copyright Litig.,
    148 F Supp 3d 1373 (J.P.M.L. 2015).......................................................................................13

In re Medi-Cal Reimbursement Rate Reduction Litig.,
    652 F. Supp. 2d 1378 (J.P.M.L 2009)........................................................................................6

In re Mtge. Indus. Foreclosure Litig.,
    996 F. Supp. 2d 1379 (J.P.M.L. 2014).................................................................................9, 15

In re: Nat’l Ass’n for Advancement of Multijurisdiction Practice Litig.,
    52 F. Supp. 3d 1377 (J.P.M.L. 2014).......................................................................................16

In re Nat’l Credit Union Admin. Bd. Mortgage-Backed Sec. Litig.,
    996 F. Supp. 2d 1374 (J.P.M.L. 2014).......................................................................................6

In re Proton-Pump Inhibitor Prods. Liab. Litig.,
    273 F. Supp. 3d 1360 (J.P.M.L. 2017).....................................................................................18

In Re Swine Flu Immunization Prods. Liab. Litig.,
    464 F. Supp. 949 (J.P.M.L. 1979)..............................................................................................7

In re Table Saw Prods. Liab. Litig.,
    641 F. Supp. 2d 1384 (J.P.M.L. 2009).....................................................................................10

In re Wells Fargo Paycheck Protection Program Litig.,
    Case MDL No. 2954, 2020 WL 4673472 (J.P.M.L. Aug. 5, 2020) ........................................10

In re Westinghouse Elec. Corp. Uranium Contracts Litig.,
    405 F Supp 316 (J.P.M.L. 1975)..............................................................................................11




                                                                iii
              Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 5 of 27



Jones v. Evans,
   52 Misc. 3d 1225(A) (N.Y. Sup. Ct. Kings Cty. 2016) ...........................................................15

Julien J. Studley, Inc., v. New York News, Inc., et al.,
    70 N.Y.2d 628 (1987) ..............................................................................................................15

Matter of Westinghouse Elec. Corp. Uranium Contracts Litig.,
   517 F Supp 440 (E.D. Va. 1981) .......................................................................................10, 11

One World Trade Ctr. LLC v. Cantor Fitzgerald Sec.,
   6 Misc. 3d 382 (Sup. Ct. New York Cty. 2004) ......................................................................11

Palm Springs Mile Associates, LTD. v. Old Navy, LLC.,
   20-cv-21929-Scola (S.D.Fla.) ..........................................................................................3, 5, 13

Reade v. Stoneybrook Realty, LLC,
   63 A.D.3d 433 (1st Dep’t 2009) ..............................................................................................11

Route 6 Outparcels v. Ruby Tuesday,
   88 A.D.3d 1224 (3d Dep’t 2011) .............................................................................................14

Sage Realty Corp. v. Jugobanka, D.D.,
   No. 95 CIV. 0323 RJW, 1998 WL 702272 (S.D.N.Y. Oct. 8, 1998) ......................................15

South Bay United Pentecostal Church v. Newsom,
   140 S.Ct. 1613 (2020) ................................................................................................................9

The Gap, Inc., et al. v. 44-45 Broadway Leasing Co., LLC,
   Index No. 652549/2020 (Sup Ct New York Cty July 22, 2020)..........................................8, 13

The Gap, Inc. v. Ponte Gadea New York LLC,
   No. 1:20-cv-04541-LTS-KHP (S.D.N.Y.) ....................................................................... passim

Trinity Ctr. v. Wall St. Correspondents,
    798 N.Y.S.2d 348, 4 Misc. 3d 1026(A), (Sup. Ct. New York Cty. 2004) ...............................12

Urban Archaeology Ltd v 207 E. 57th St. LLC,
   68 A.D.3d 562, 562 (1st Dep’t 2009) ......................................................................................12

Van Dusen v. Barrack,
   376 U.S. 612 (1964) .................................................................................................................19

Statutes

28 U.S.C. § 1407 .................................................................................................................... passim

28 U.S.C. § 1407(a) .....................................................................................................................2, 5




                                                                     iv
              Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 6 of 27



Rules

Fed. R. Civ. P. Rule 12(c) ................................................................................................................3

Fed. R. Civ. P. Rule 26 ..................................................................................................................17

Other Authorities

https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html................................8

https://www.sfchronicle.com/business/amp/Gap-s-future-lies-with-Bankruptcy-Court-
    7943518.php ............................................................................................................................19

https://www.natlawreview.com/article/20-retailers-to-watch-bankruptcy-filing-second-
    half-2020 ..................................................................................................................................19

Ronald J. Bacigal, An Empirical Case Study of Informal Alternative Dispute Resolution, 4 Ohio
   St J on Disp Resol 1, 4-25 (1988) ......................................................................................11, 12




                                                                        v
          Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 7 of 27



       Ponte Gadea New York, LLC (“Ponte Gadea”), by and through undersigned counsel,

respectfully files this Response in Opposition to the Motion to Transfer Under 28 U.S.C. § 1407

(“Transfer Motion”) filed by The Gap, Inc. (“Gap”) and its various wholly owned subsidiaries.1

                                      I.      INTRODUCTION

       In April 2020, in response to the COVID-19 pandemic, Gap made the corporate decision

to stop paying rent at all of its brick and mortar stores nationwide, leaving landlords in the lurch.

While small mom and pop stores have struggled to make ends meet to satisfy their contractual

obligations to pay rent, Gap decided to leverage its size and pocketbook by commencing (and

defending) costly litigation throughout the United States, claiming that it was excused from all

rent payments indefinitely. This Transfer Motion is the next step in Gap’s nationwide litigation

strategy. Gap now seeks to drag all of the landlords from across the country to its home district

(where no dispute is pending) and into a wholly unnecessary multidistrict litigation. In doing so,

Gap hopes to obtain favorable relief there, while also prejudicing landlords by leaving them

hanging in the wind and unable to obtain quick relief in their local district courts that are familiar

with their state’s real estate laws, all the while Gap continues to use and occupy the retail

locations without paying one cent of rent in consideration. This should not be allowed.

       The Multidistrict Litigation Judicial Panel (“Panel”) should deny Gap’s baseless and

prejudicial transfer request, and instead should let the landlords separately resolve the (now less

than) 33 rent disputes (the “Rent Disputes”) where the retail stores are located. This will be the

most efficient and just way to resolve these simple disputes. Alternatively, Ponte Gadea requests

to have its lawsuit – The Gap, Inc. v. Ponte Gadea New York LLC, No. 1:20-cv-04541-LTS-KHP



1
 JPML R. 3.2(a) limits briefs to 20 pages, double spaced, “[a]bsent exceptional circumstances.”
Gap’s brief is less than double spaced, which is tantamount to having extra pages. Yet, despite
granting itself this unauthorized advantage, Gap’s request still fails.


                                                  1
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 8 of 27



(S.D.N.Y.) (“PG Dispute”) – severed and remanded to the Southern District of New York2 for

timely resolution of its summary judgment motion, which it filed on August 17, 2020.3 Contrary

to Gap’s maneuvering, the district court has already denied Gap’s effort to extend its response

deadline to after resolution of this Transfer Motion4 (and will likely deny Gap’s stay request),

making Gap’s response to this dispositive motion due on August 31. On the current track, the PG

Dispute (as well as others) will likely be resolved soon without transfer (or any need for one).

       Here, consolidation for pre-trial purposes will complicate, not simplify, the Rent

Disputes. Each dispute involves different facts, leases, governmental orders, local witnesses, and

measures of damages. The individual facts predominate over common ones (if any), legal

questions predominate over factual ones, discovery (if any) is disparate, and transfer will be

inefficient and unjust. Unsurprisingly, as far as Ponte Gadea can confirm, the Panel has never

consolidated a multidistrict litigation to resolve simple rent disputes and surely Gap would have

identified such a case if it existed. Because none of the hallmarks for multidistrict litigation

consolidation exist here, the Panel should deny Gap’s Transfer Motion.

       First, relevant common questions of fact between the various disputes, if any, are neither

complex nor predominate over individual questions of fact. Moreover, the few common facts

that may exist are already admitted (Gap admits it made the business decision to cease paying

rent nationwide), are established by judicial notice (dates and specifics contained within COVID-

19 executive orders), or are simply irrelevant to the swift adjudication of these matters. Unlike



2
  See 28 U.S.C. § 1407(a); see also JPML R. 10.1(b); In re AT&T Mobility Wireless Data Servs.
Sales Tax Litig., 710 F. Supp. 2d 1378, 1380 (J.P.M.L. 2010) (excluding one action from § 1407
where claims were “distinct enough for exclusion from the centralized proceedings”).
3
  Copies of Ponte Gadea’s motion for summary judgment, and related filings, are attached to the
to the Declaration of Darryl Graham (“Graham Decl.”) as Composite Exhibit 1.
4
  Copies of the district court’s denial of Gap’s request for an extension of time, along with the
related filings, are attached as Composite Exhibit 2 to the Graham Decl.


                                                 2
          Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 9 of 27



most disputes that are consolidated for MDL, each case here is factually dissimilar to the next.

This is not a plane crash that similarly affects families that lost loved ones. This is not a products

liability case where the affected plaintiffs will be seeking similar discovery about when the

manufacturer knew the product was defective. These are lease disputes, and each is different.

       Further, any relevant “facts” necessary to resolve the Rent Disputes are unique to the

specific property, specific lease, and the specific lease negotiations between the parties. Thus,

relevant discovery, if any, will be localized and burdened by centralization.

       Additionally, legal issues predominate over factual ones. These are straightforward lease

disputes with most facts already established and ready for resolution. The district courts merely

need to interpret the leases under their state’s law and decide whether Gap’s failure to pay rent is

a breach. Early dispositive motions have been (or will be) filed, and Palm Springs settled in

response to one.5 Likewise, New York state courts have already entered Yellowstone relief in

similar disputes requiring Gap to pay rent, and other courts have resolved rent disputes in the

COVID-19 context. All of this occurred quickly, and without MDL transfer or discovery, which

further demonstrates that the Rent Disputes are neither complex nor complicated.

       In light of these facts, centralization for discovery is unnecessary, and will only delay the

current trend towards resolution. While Gap self-servingly speculates that landlords will take

massive discovery from Gap, the early dispositive motions indicate otherwise. Moreover, in the

unlikely event Gap can demonstrate that some minimal discovery is necessary, it will be

localized, unique to each dispute, and thus best handled by the local judge, not in a MDL.6

       Finally, the request for consolidation and transfer would promote forum-shopping, not


5
  Palm Springs Mile Associates, LTD. v. Old Navy, LLC., 20-cv-21929-Scola (S.D.Fla.) (“Palm
Springs”) (Old Navy settled in response to landlord’s Rule 12(c) motion) (Dkt. No. 27).
6
  For instance, each witness in Ponte Gadea’s Initial Disclosures, including Gap’s employees, is
located in New York City. See Graham Decl., Exhibit 3 (Ponte Gadea’s Initial Disclosures).


                                                  3
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 10 of 27



justice. There is no action pending in the proposed transferee district (Northern District of

California), yet Gap obviously prefers to litigate in its home forum and this Transfer Motion is

the only mechanism to get there. Similarly, Gap’s hope for the transferee court to provide a

favorable uniform ruling despite the various leases, their forum selection clauses, and the

application of different states’ laws, only highlights Gap’s ulterior motive for transfer. In short,

transfer is unwarranted, improper, and should be denied.

                                      II.     BACKGROUND7

       Each of the Rent Disputes is straight-forward, and the PG Dispute is illustrative. Gap is a

tenant under a lease for a retail store (the “Lease”) located at 734 Lexington Avenue, New York,

New York (the “Premises”). Ponte Gadea is the landlord under that Lease. When the COVID-19

pandemic struck and New York State began ordering certain businesses to temporarily close

down in March 2020, Gap made a nationwide business decision to stop paying rent at all of its

retail stores throughout the United States, including at the Premises. Hence, Gap has not paid

rent to Ponte Gadea under the Lease since March 2020 before the COVID-19 pandemic.

       After Gap failed to pay rent for April 2020 and May 2020, Ponte Gadea served Gap with

a notice of default under the Lease, followed by a notice terminating the Lease effective June 15,

2020, due to Gap’s failure to pay rent. Gap, however, refused to pay rent and refused to vacate

and surrender the Premises. To date, Gap continues to use and occupy the Premises, including

but not limited to, storing its merchandise, advertising its goods, and operating its retail store for

at least curbside pickup. Yet, despite this, Gap sued Ponte Gadea and claims it is not required to

pay rent due to the doctrines of impossibility and frustration of purpose, and related equitable

and legal claims that all hinge on those common law doctrines and contractual force majeure.

7
  Ponte Gadea refers the Panel to its Motion for Summary Judgment for evidentiary support for
the facts contained in the Background and for the specific undisputed facts that relate to the
Ponte Gadea Lease. See Graham Decl., Comp. Ex. 1.


                                                  4
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 11 of 27



However, the Lease (as well as the other leases) are unambiguous and require Gap to continue

paying rent. With respect to Ponte Gadea, Gap owes $5,671,155.80 in unpaid rent with an

additional $1,230,216.93 accruing on September 1, 2020 (and each month thereafter).

       These issues are legal and the facts are established. The question is, based on the

governmental orders and Gap’s decision not to pay rent, do those doctrines or the Lease allow

Gap to cease paying rent? Claims for breach of contract and declaratory relief will resolve these

questions, while Gap’s filler equitable claims for unjust enrichment, money had, and rescission

will fail as a matter of law due to the existence and terms of the Lease. Gap’s “hail-mary”

reformation claim, even assuming Gap can make a competent, prima facie showing of its

mistake (an especially high bar to satisfy), will require individualized discovery from each

landlord in each dispute. Unsurprisingly, Gap’s claims drew early dispositive motions from

Ponte Gadea, as well as others, such as Palm Springs.

       Confronted with this reality and a likely mountain of adverse judgments, Gap filed this

Transfer Motion, which is improper in light of the uncommon facts and largely legal nature of

the Rent Disputes. In the PG Dispute in particular, Gap admits that the Lease is “non-standard,”

thus making it a uniquely poor candidate for centralization. Transfer Memo, p. 8 n. 13.

                                   III.    LEGAL STANDARD

       Transfer is warranted if: (1) the actions share common questions of fact; (2) transfer

would be for the convenience of the parties and witnesses; and (3) transfer would advance the

just and efficient conduct of the litigation. 28 U.S.C. § 1407(a). Gap has the burden of showing

that common questions of fact exist and transfer serves the § 1407(a) objectives. In re Eli Lilly

and Co. (Cephalexin Monohydrate) Patent Litig., 446 F. Supp. 242, 243-44 (J.P.M.L. 1978).

       Gap also bears the “burden of demonstrating the need for centralization.” In re Best Buy

Co., Inc., Cal. Song-Beverly Credit Card Act Litig., 804 F. Supp. 2d 1376, 1379 (J.P.M.L. 2011).


                                                5
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 12 of 27



“[C]entralization under Section 1407 should be the last solution after considered review of all

other options.” Id. at 1378 (emphasis added). This heavy burden further requires a showing that

the common factual questions are “sufficiently complex [such] that accompanying discovery will

be so time-consuming as to further the purposes of Section 1407.” In re Garrison Diversion Unit

Litig., 458 F. Supp. 223, 225 (J.P.M.L. 1978). And even if common questions of fact exist, the

objectives of convenience, justice and efficiency must be “sufficiently served to justify the

necessary inconveniences of transfer and remand.” In re Concrete Pipe, 302 F. Supp. 244, 254

(J.P.M.L 1969). Thus, the Panel must weigh the interests of all parties, see In re Falstaff Brewing

Corp. Antitrust Litig., 434 F. Supp. 1225, 1229 (J.P.M.L 1977), and should deny transfer if

consolidation does not serve all statutory objectives. Concrete Pipe, 302 F. Supp. at 255 (“If we

are to order transfer, the statute requires us to determine that the answer to that question,

including each of its four elements, is in the affirmative.”).

                                        IV.     DISCUSSION

       A.      Individual Questions of Fact Predominate Over Common Facts (If Any), and
               Questions of Law Predominate Over Both

       Denial of a motion for transfer is warranted when “individual facts contained in [the Rent

Disputes] will predominate over any alleged common fact questions.” In re Abbott Labs., Inc.,

Similac Prods. Liab. Litig., 763 F. Supp. 2d 1376, 1376 (J.P.M.L. 2011). Similarly, where the

issues are primarily legal in nature, even if some fact issues may exist, transfer is inappropriate.

In re Medi-Cal Reimbursement Rate Reduction Litig., 652 F. Supp. 2d 1378 (J.P.M.L 2009)

(denying transfer where issues were “by and large strictly legal.”).

       In addition, “common questions of fact among the[] actions [must be] sufficiently

complex and/or numerous to justify centralization.” In re Nat’l Credit Union Admin. Bd.

Mortgage-Backed Sec. Litig., 996 F. Supp. 2d 1374, 1376 (J.P.M.L. 2014). Here, the Transfer



                                                  6
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 13 of 27



Motion should be denied because, while COVID-19 is a common fact, “individual facts

contained in the[ Rent Disputes] predominate over any alleged common fact questions.” Abbott

Labs., 763 F. Supp. 2d at 1376.

               1.      The Relevant Questions of Fact are Uncommon, Individualized, or
                       Admitted

       Gap fails to meet its burden of showing sufficient, common questions of fact exist to

justify consolidation and transfer. In fact, Gap’s Transfer Motion largely focuses on legal issues,

which, generally speaking, are irrelevant to transfer, but as explained below militate against

transfer. Instead, Gap’s moving papers demonstrate that the purported “common” questions of

fact are either admitted or are quite uncommon and individualized.

       First, Gap admits that it made the business decision to stop paying rent nationwide. See

Transfer Motion, ¶ 6; Memo, p. 2. Admitted facts do not need discovery or centralization. In Re

Swine Flu Immunization Prods. Liab. Litig., 464 F. Supp. 949 (J.P.M.L. 1979) (admission of

liability removes “common” fact question). While Gap wants to make its subjective calculus for

“why” it made this decision relevant, it is not. What Gap decided – to stop paying rent – is

relevant, and the only remaining question is whether the relevant leases excuse the consequences

of Gap’s decision. That is a legal question. The relevant facts are admitted or established by

governmental order, which renders transfer to coordinate discovery unnecessary. Id.

       Next, Gap superficially lists certain “share[d] factual questions” that purport to support

transfer and consolidation, but upon further consideration they are obviously uncommon and

individualized facts that cut against transfer. Specifically, Gap identifies:

          the public safety issues posed by COVID-19 in general and to retail stores,
          potential means and corresponding costs of addressing those safety issues by
          the parties, efforts undertaken by the parties to ensure customer safety, the
          government orders mandating closure, effects of COVID-19 on the public’s
          view of continued shopping in physical, retail stores, and the effect of
          COVID-19 on retail sales, including for Gap stores that have reopened.


                                                  7
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 14 of 27




Transfer Memo, p. 11.

       Yet, in each Rent Dispute, the impact of COVID-19 and the resulting governmental

orders were different. While Gap applied a “one-size-fits-all” approach, the facts on the ground

were unique to each retail location and thus each dispute’s characteristics must be evaluated

separately to test Gap’s decision. For example, New York City has had more than 225,000

confirmed COVID-19 cases, while the entire State of West Virginia has had less than 9,000.8 In

turn, each jurisdiction had different governmental orders with different durations and

restrictions.9 Because of this, it follows that the COVID-19 related “costs of addressing those

safety issues by the parties” and the “efforts undertaken by the parties to ensure customer safety”

are factually different for each Rent Dispute and its specific parties, location, and lease.

       Indeed, even for Gap’s leases in New York City, a New York State Court judge recently

denied Gap’s attempt to claim a lease dispute at its Times Square location and a lease dispute at

its Rockefeller Center location were related actions.10 If these two leases are not related, then

there cannot be sufficient factual relationship between the 33 leases, across 10 different states

that Gap is attempting to transfer to a MDL.

       Further, in those states that required businesses to shut down, there were variations

between the orders requiring the examination of individual questions such as (1) was Gap

deemed an “essential business” and therefore permitted to keep operating, (2) even if Gap was

not designated as “essential,” did the state or local jurisdiction permit Gap to stay partially open


8
   See MDL Dkt. No. 1-2 (disputes filed in New York City (Nos. 17-20) and in West Virginia No.
33). See also https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.
9
   A table collecting orders from certain jurisdictions is attached as Exhibit 4 to Graham Decl.
10
    See Graham Decl., Composite Exhibit 5 (noting Banana Republic, LLC v. RCPI Landmark
Props., LLC, Index No. 653475/2020 (Sup. Ct. New York Cty) “is not related to The Gap, Inc. et
al v. 44-45 Broadway Leasing Co., LLC Index No. 652649/2020 contrary to the entry on the
Request for Judicial Intervention” filed by Gap).


                                                  8
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 15 of 27



(such as for curb-side pick-up), and (3) what date(s) were Gap’s various retail locations subject

to a closure order(s) and what did Gap do in response. Also, most states issued multiple orders,11

and local health departments often issued a separate order with restrictions. See e.g., Exhibit 4.

As such, to the extent these governmental orders even affect the legal analysis of any particular

lease agreement, each Rent Dispute, including the PG Dispute, requires the resolution of each of

these individual issues before Gap can attempt to pursue its “one-sized-fits-all” theory that the

COVID-19 governmental orders relieved it of its obligation to pay rent.

       In fact, as Chief Justice Roberts recently noted, local and state orders governing COVID-

19 closures are individualized and state-focused:

          Our Constitution principally entrusts “[t]he safety and the health of the
          people” to the politically accountable officials of the States “to guard and
          protect.” When those officials “undertake[ ] to act in areas fraught with
          medical and scientific uncertainties,” their latitude “must be especially
          broad.” Where those broad limits are not exceeded, they should not be
          subject to second-guessing by an “unelected federal judiciary,” which lacks
          the background, competence, and expertise to assess public health and is not
          accountable to the people. That is especially true where, as here, a party
          seeks emergency relief in an interlocutory posture, while local officials are
          actively shaping their response to changing facts on the ground.

South Bay United Pentecostal Church v. Newsom, 140 S.Ct. 1613, 1613-14 (2020) (citations

omitted) (Roberts, C.J., concurring). Thus, while the existence of COVID-19 is factually

common, the extent of its impact is factually uncommon and highly individualized to each retail

store, its relevant government’s orders, the parties’ reactions, and the relevant lease.

       Under similar circumstances, this Panel has denied consolidation. For example, in In re

Mtge. Indus. Foreclosure Litig., 996 F. Supp. 2d 1379, 1379 (J.P.M.L. 2014), the Panel

acknowledged a similar theory of contract interpretation, but denied transfer because the cases



11
  While others, including Iowa, Nebraska, North Dakota, South Dakota, Utah, Wyoming, and
Arkansas, never issued any stay-at-home orders.


                                                  9
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 16 of 27



had “different defendants, different plaintiffs, different mortgage loans at different stages of the

foreclosure process, different securitized trusts involving different contractual trust arrangements

and different trustees and mortgage servicers, different state laws, and different putative classes.”

See also In re Table Saw Prods. Liab. Litig., 641 F. Supp. 2d 1384, 1384 (J.P.M.L. 2009)

(denying motion to transfer 42 cases because “common issues … are overshadowed by non-

common ones” and noting that each case “occurred under unnecessarily unique circumstances.”).

       Likewise, the Panel recently denied two COVID-19 related transfer motions for similar

reasons. See, e.g., In re COVID-19 Bus. Interruption Protection Ins. Litig., MDL. No. 2942,

2020 WL 4670700, at *2 (J.P.M.L. Aug. 12, 2020) (denying transfer of “more than 175 actions”

because “there is little potential for common discovery across the litigation” and “these cases

involve different insurance policies with different coverages, conditions, exclusions, and policy

language, purchased by different businesses in different industries located in different states.

These differences will overwhelm any common factual questions.”); see also In re Wells Fargo

Paycheck Protection Program Litig., Case MDL No. 2954, 2020 WL 4673472, at *1 (J.P.M.L.

Aug. 5, 2020) (individual factual issues predominate over common factual issues).

       Finally, Gap’s “best” case and reliance on Westinghouse is inapposite. First, had Gap

inquired into the fate of Westinghouse, it may have reconsidered this citation as the court

actually ruled against Westinghouse and rejected its contractual, UCC, and common law

defenses. See Matter of Westinghouse Elec. Corp. Uranium Contracts Litig., 517 F Supp 440,

460-61 (E.D. Va. 1981) (“The defense of frustration of purpose, like commercial impracticability

and mistake of fact, is limited by the parties’ allocation of the risk that the supervening event will

occur. Having found overwhelming evidence that Westinghouse assumed the risk of the

uncertainties …, the Court cannot find that frustration of purpose excuses its nonperformance.”




                                                 10
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 17 of 27



… “[I]t is clear that, under the law, Westinghouse is liable … for its breach of contract. It must

pay damages[.]”) (citations omitted). If anything, this decades’ old dispute is Gap’s downfall.

       But with respect to consolidation, Westinghouse is distinguishable because the

“unforeseen” event was a global uranium shortage, which produced a uniform and common

shortage of uranium across all of Westinghouse’s contracts. And it was this commonality that

tipped the Panel’s scale in favor of consolidation. In re Westinghouse Elec. Corp. Uranium

Contracts Litig., 405 F Supp 316, 318-19 (J.P.M.L. 1975) (finding the relevant “example” of

common fact was the “supply of uranium on the open market and its cost” and Westinghouse’s

ability to “deliver[ … ]uranium.”). Here, however, the impact of COVID-19 is not uniform, but

different from city to city, state to state, and retail location to retail location. With this crucial

common fact missing, Westinghouse fails to support transfer.12

               2.      The Rent Disputes’ limited factual issues are neither novel nor complex

       As discussed above, there is nothing particularly novel or complex about these disputes,

and the overlay of COVID-19 does not change this. Generally speaking, rent disputes are neither

complex, nor novel. See, e.g., Reade v. Stoneybrook Realty, LLC, 63 A.D.3d 433 (1st Dep’t

2009) (dispatching similar commercial landlord tenant dispute regarding unpaid rent and

application of a lease’s force majeure clause in a simple, one-page order). This does not change

even with unprecedented global events, contrary to Gap’s contention. See, e.g., One World Trade

Ctr. LLC v. Cantor Fitzgerald Sec., 6 Misc. 3d 382 (Sup. Ct. New York Cty. 2004) (same, but in


12
    Indeed, unlike here, Westinghouse was incredibly complicated as the uranium shortage was
actually the result of an international cartel formed in response to U.S. legislation, which closed
off three-quarters of the world market to foreign producers who then met and divided up the rest
of the market. Westinghouse sought $6 billion in damages. This spawned novel international
litigation, significant foreign discovery, and ultimately Judge Merhige went to London where he
became the first federal judge to hold court in a foreign country. See Ronald J. Bacigal, An
Empirical Case Study of Informal Alternative Dispute Resolution, 4 Ohio St J on Disp Resol 1,
4-25 (1988) (detailed history of Westinghouse). None of these unique facts exist here.


                                                 11
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 18 of 27



the context of the tragic events of September 11, 2001); Trinity Ctr. v. Wall St. Correspondents,

798 N.Y.S.2d 348, 4 Misc. 3d 1026(A), at *1 (Sup. Ct. New York Cty. 2004) (same); see also

Urban Archaeology Ltd v 207 E. 57th St. LLC, 68 A.D.3d 562, 562 (1st Dep’t 2009) (same, but

in the context of the global economic crisis of 2008).

       Thus, even if the Panel determined that the Rent Disputes involved a “common factual

core,” any common factual questions pertaining to whether Gap’s decision to cease paying rent

at each of the leased premises would remain “relatively straightforward” and thus not sufficiently

complex to justify centralization. See, e.g., In re: Hercules Offshore, Sec. and Derivative Litig.,

816 F Supp 2d 1377 (J.P.M.L. 2011) (denying centralization because “the facts in these cases are

largely undisputed and, therefore, discovery will not be extensive or overly complex.”).

               3.     The procedural history to date demonstrates transfer is unnecessary

       The Panel need not accept Ponte Gadea’s representation that the Rent Disputes are

straightforward and ripe for summary disposition. Rather, the procedural history of the Rent

Disputes, similar Gap rent disputes, and other COVID-19 rent disputes, prove that these disputes

are not complex and do not require significant judicial resources or discovery.

       As a threshold observation, Gap’s proposed MDL purports to include 33 Rent Disputes.

However, since filing, more than 70% have settled, been remanded to state court, or have

dispositive motions pending (or poised to be).13 And, as this dispute is still in its infancy, more

quick resolutions are likely to follow, which further cuts against transfer. See In re JumpSport,

Inc. (‘845 & ‘207) Patent Litig., 338 F. Supp. 3d 1356, 57-58 (J.P.M.L. 2018) (“[c]entralization

is not necessary where the actions are being litigated in a manner that is likely to lead to their

13
  Eleven of the Rent Disputes have been (or are poised to be) remanded. See MDL Dkt. No. 1-2
(Schedule of Actions, Nos. 1, 2, 3, 4, 5, 6, 9, 10, 11, 12, 17, and 18). And, ten of them have been
voluntarily dismissed. Id. (Nos. 7, 8, 13, 24, 25, 26, 27, 28, 29, and 33). A chart with the status
of the Rent Disputes identified on Gap’s Schedule of Actions, as of this filing, is attached as
Exhibit 6 to Graham Decl.


                                                12
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 19 of 27



resolution, whether through settlement or other means, within a relatively short period of time.”);

In re Live Face on Web, LLC, Copyright Litig., 148 F Supp 3d 1373 (J.P.M.L. 2015) (same).

       This factor is particular strong because early dispositive motions are pending and have

already resulted in settlement. Indeed, while Gap inexplicably includes Palm Springs as one of

the Rent Disputes, Gap actually settled it on July 24, 2020 – before filing the Transfer Motion –

and in response to the landlord’s motion for judgment on the pleadings.14 Thus, rather than

defend its pleading and claims (which are the same in the other disputes), Gap settled, which is

compelling evidence that its defenses lack merit and discovery is unnecessary. Further, Palm

Springs is not an outlier. Ponte Gadea’s pending summary judgment motion also demonstrates

that there are no issues of fact to resolve or discovery needed and that entry of final judgment

now is proper.15 And, on August 3, 2020, the landlord in the other case pending in the Southern

District of New York requested a conference to discuss its anticipated summary judgment

motion.16 These early dispositive motions confirm that the Rent Disputes are simple and do not

need discovery.

       This trend is consistent in Gap’s state court rent disputes. Already, two New York courts

have rendered preliminary rulings, pursuant to New York’s unique Yellowstone procedures,

ordering Gap to pay use and occupancy. Thus, notwithstanding Gap’s arguments and COVID-

19, these courts have reviewed the leases, applied New York law, and directed Gap to pay

millions of dollars of rent pending resolution of the disputes. Copies of these decisions are

attached as Composite Exhibit 7 to the Graham Declaration.17



14
   See Palm Springs, Dkt Nos. 18, 23, 25, 27-30.
15
   See Graham Decl., Comp. Ex. 1.
16
   MDL Dkt. 1-2 (48th Americas LLC v. The Gap, Inc., 20-cv-3471 (S.D.N.Y.) (Dkt. No. 22)).
17
   See Banana Republic, LLC v. RCPI Landmark Props., LLC, Index No. 653475/2020 (Sup Ct
New York Cty Aug. 13, 2020) (ordering Gap to pay $3,877,179.05); The Gap, Inc., et al. v. 44-


                                                13
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 20 of 27



       Finally, in a similar dispute with different parties, one court resolved the entire COVID-

19 rent dispute, without discovery, in about 7 weeks. See In re Hitz Rest. Group, 616 B.R. 374,

376-77 (Bankr. N.D. Ill. 2020). There, the landlord sought unpaid rent and the tenant argued rent

was abated due to, among other things, Illinois’ order “address[ing] the Covid-19 pandemic[.]”

Id. In a 4-page opinion, the court identified that this a legal question of contract interpretation

and, there being no ambiguity, resolved the dispute. Id. (ordering tenant to pay a portion of rent);

see also id. (Dkt. Nos. 21, 43, 45, 48). In less than two months, the parties briefed the simple

dispute and the court resolved it without the need for any discovery.

       Each of these examples in its own right cuts against transfer, but together they are strong

evidence against the need for centralization into a multidistrict litigation. The disputes are ripe

for quick resolution, and the district courts should be left to do so expeditiously.

               4.      Legal Issues Predominate Over Factual Issues

       Even if Gap could establish that common and complex facts exist here, resolution of the

Rent Disputes is primarily a legal question, not a factual one, which renders centralization

unwarranted. Gap admits it failed to pay rent and the most salient other facts are established by

the relevant governmental orders implemented in the jurisdiction of each retail location, so the

remaining question regarding whether Gap is excused is based on an interpretation of the

relevant lease. See Route 6 Outparcels v. Ruby Tuesday, 88 A.D.3d 1224, 1225 (3d Dep’t 2011)

(“[W]hen the parties have themselves defined the contours of force majeure in their agreement,

those contours dictate the application, effect, and scope of force majeure.”).

       Further, Gap does not dispute that the various leases’ force majeure clauses foresaw the

impact of governmental orders and allocated the risk of rent payment in that context. Transfer


45 Broadway Leasing Co., LLC, Index No. 652549/2020 (Sup Ct New York Cty July 22, 2020)
(ordering Gap to pay $2,953,733 and post an undertaking in the amount of $5,842,531.00).


                                                 14
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 21 of 27



Memo, p. 7-8, n. 10-13. This admission renders the related doctrines of impossibility or

frustration of purpose subsumed into and controlled by the terms of the lease. See, e.g., Sage

Realty Corp. v. Jugobanka, D.D., No. 95 CIV. 0323 RJW, 1998 WL 702272, at *2 (S.D.N.Y.

Oct. 8, 1998) (doctrines of frustration of purpose and impossibility inapplicable if addressed by

the lease); Bank of Am. Nat. Tr. & Sav. Ass’n v. Envases Venezolanos, S.A., 740 F. Supp. 260,

263, 266-67 (S.D.N.Y. 1990) (rejecting frustration of purpose argument because agreement

foresaw the subject issue).

       Likewise, Gap’s other claims for money had, unjust enrichment, and rescission are

foreclosed as a matter of law. Transfer Memo, p. 10 n. 16. See IDT Corp. v. Morgan Stanley

Dean Witter & Co., 12 N.Y.3d 132, 142 (2009) (“Where the parties executed a valid and

enforceable written contract governing a particular subject matter, recovery on a theory of unjust

enrichment for events arising out of that subject matter is ordinarily precluded.”); Julien J.

Studley, Inc., v. New York News, Inc., et al., 70 N.Y.2d 628, 629 (1987) (rejected money had and

received claim because “a contract cannot be implied in fact where there is an express contract

covering the subject matter involved”); Jones v. Evans, 52 Misc. 3d 1225(A) (N.Y. Sup. Ct.

Kings Cty. 2016) (“rescission is only to be invoked where the plaintiff has no adequate remedy

at law and where the parties can be substantially restored to their status quo ante positions”);

Culver & Theisen, Inc. v. Starr Realty Company (NE) LLC, 307 A.D.2d 910, 911 (2d Dep’t

1994) (dismissing claim for rescission where lease anticipated events and allocated risk).

       Because these questions are legal, solely implicate state law as defined in the specific

leases, they are more easily and properly resolved by local district court judges familiar with

their state’s laws. This is precisely why the Panel typically denies requests to transfer these types

of disputes. See, e.g., Mtge. Indus. Foreclosure Litig., 996 F Supp 2d 1379 (“Moreover, these




                                                 15
           Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 22 of 27



actions involve relatively straightforward contractual interpretation questions under different

state laws. They are not so complex, nor the accompanying discovery so time-consuming, as to

merit centralization.”) (citation omitted)); In re: Nat’l Ass’n for Advancement of

Multijurisdiction Practice Litig., 52 F. Supp. 3d 1377, 1378 (J.P.M.L. 2014) (“Although

plaintiffs seek efficiencies through centralized treatment of the disputed legal questions, [m]erely

to avoid [different] federal courts having to decide the same issue is, by itself, usually not

sufficient to justify Section 1407 centralization.”) (citation and internal quotations omitted).

                 5.     Transfer is Especially Unsuitable when the Legal Issues are Governed by
                        Different State’s laws

          Further, as Gap admits, each lease in this dispute has its own forum selection clause and

governing law provision. Transfer Memo, p. 11. In Article 27 of Ponte Gadea’s Lease, Gap

agreed New York law applied and to “irrevocably consent[] and submit[] to the jurisdiction of

any federal … court sitting in the State of New York, County of New York.”18 Gap further

“irrevocably waive[d] all objections as to venue and any and all rights it may have to seek a

change of venue with respect to any such action or proceeding.” Id.

          While forum selection clauses will not themselves bar MDL transfer, this “Submission to

Jurisdiction” provision in the Lease highlights the fact that the Rent Disputes are unique to the

relationship between the contracting parties, the particular terms of the leases, and the facts

concerning Gap’s non-payment of rent at these specific premises. Recognizing this, the Panel has

denied transferring disputes that revolve around legal questions subject to different governing

state law. See, e.g., In re HealthExtras Ins. Mktg. & Sales Practice Litig., 24 F. Supp. 3d 1376,

1376-1377 (J.P.M.L. 2014). Ultimately, this rationale is rooted in common sense. Questions of

law are best left to local judges well versed in the law of their states, who regularly deal with the


18
     See PG Dispute (Dkt. No. 16-1 at Exhibit A §§ 27.1, 27.2) (emphasis added)).


                                                 16
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 23 of 27



interpretation of leases, and who are thus especially equipped to resolve their local disputes.

       Here, the overlap of relevant common facts are limited, if any exist, and individual facts

predominate over them, while legal issues predominate over the factual ones. Moreover, the

multitude of governmental orders and different state laws that apply to the various leases

undermine any potential benefit to consolidation. Finally, the (remaining) Rent Disputes

proposed for MDL consolidation are simple and straightforward, which is demonstrated by the

dispositive motions, remands, and dismissals that have already resolved more than 70% of the

cases. Together, these factors strongly militate against centralization.

       B.      Centralization Would Also Be Inconvenient, Inefficient, and Unjust

       Assuming Gap can demonstrate common, complex facts exist to qualify this dispute for

transfer (which Ponte Gadea disputes), centralization would inconvenience the witnesses and

parties with respect to the limited discovery, if any, necessary to resolve the Rent Disputes.

Further, because that discovery (if necessary) would be individualized and state-focused,

consolidation in one district would be inefficient and unjust. See In re Cessna Aircraft Distrib.

Antitrust Litig., 460 F. Supp. 159, 161-62 (J.P.M.L. 1978) (“[A] mere showing that [common]

questions exist is not sufficient, in and of itself, to warrant transfer by the Panel.”). As transfer

will benefit Gap only, to the detriment of everyone else, it is unwarranted.

       Gap’s entire argument focuses on the purported discovery it anticipates landlords will

take from Gap, including the depositions of six unnamed corporate officers and other discovery

purportedly implicating some ninety odd other individuals. (Transfer Memo, p. 15). But,

contrary to Gap’s claim,19 Ponte Gadea has no need to depose several high-level Gap officials


19
   In Fact, Gap’s Rule 26 Initial Disclosures in the PG Dispute neither identifies six unnamed
corporate officer nor identifies any alleged witness located in San Francisco, CA. Rather, they
are all in New York City. A copy of Gap’s Rule 26 Initial Disclosures, dated August 27, 2020, is
attached as Exhibit 8 to the Graham Declaration.


                                                 17
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 24 of 27



about Gap’s decision to cease paying rent. Neither do other landlords as the dispositive motions

demonstrate. It is an admitted fact that Gap stopped paying rent. No discovery is required,20 and

Gap’s supposition to the contrary falls flat in the face of this record.

       And, with respect to the few potential fact issues, those will be focused on the specific

dispute, lease, and retail location. Forcing the parties and witnesses to coordinate these localized

issues and discovery through a far-away centralized court is on its face inconvenient. This

inconvenience to Ponte Gadea (and presumably other landlords) is further exacerbated by the

fact that it is only party to one dispute in New York City, which is where all of the witnesses

identified by Ponte Gadea are located.21 Dragging individual defendants (and their witnesses)

into a MDL with different landlords, different leases, and different local facts is especially

inefficient and unjust. See, e.g., In re Proton-Pump Inhibitor Prods. Liab. Litig., 273 F. Supp. 3d

1360, 1362 (J.P.M.L. 2017) (denying transfer because, among other reasons, the number of

unique defendants named in the various disputes and finding “[c]entralization thus appears

unlikely to serve the convenience of most, if not all, defendants and their witnesses.”).

       Next, centralization would also be inefficient and unjust. Gap’s worry about thousands of

potential “tag along” cases is belied by the record and the decrease in their numbers by more

than 70% in the past few weeks. This is fact. Gap’s supposition regarding additional litigation

and conflicting Daubert motions is speculation. Conversely, if Gap’s machinations prove

successful, it will delay the landlords’ ability to obtain quick relief of these disputes, which are


20
   Even if there is necessary, Gap-focused discovery, Gap is represented by one law firm (who is
coordinating with local counsel), which is sophisticated and well-versed in federal practice.
Gap’s counsel, with coordination with landlords’ counsel has an alternative means to minimize
duplication of whatever limited discovery may be necessary. In re: Gerber Probiotic Prods.
Mktg. & Sales Practices Litig., 899 F. Supp. 2d 1378, 1379 (J.P.M.L. 2012) (centralization
“should be the last solution after considered review of all other options.”) (citation omitted); Eli
Lilly & Co., 446 F. Supp. at 243-44 (coordination of discovery suitable alternative to transfer).
21
   See n. 7, infra.


                                                  18
            Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 25 of 27



moving towards resolution. Gap has not paid landlords rent since March 2020. To force them

into a far-flung district court to wait even longer to adjudicate their local rent disputes is unjust

and inefficient.

        Lastly, transfer would condone forum-shopping gamesmanship. See Concrete Pipe, 302

F. Supp. at 254-55 (considering whether transfer would serve any party’s ulterior motive of

forum-shopping). The Rent Disputes are in federal court based solely on diversity subject matter

jurisdiction, which, based on their various leases, requires the application of specific state law.

No Rent Dispute is pending in California, nor could one be but for limited circumstances. Yet,

Gap attempts to avoid this reality – and that all of the leases have varying forum-selection and

governing law provisions – and force the landlords to litigate in Gap’s (and its counsel’s) home

district.   Further, Gap seeks uniform (and presumably more favorable) rulings in its home

district, which further underscores Gap’s motivation for transfer. Indeed, regardless of the

alleged “hornbook” issues that purportedly exist here, each state’s laws control, as there is no

“uniform” law nor could there be. Gap’s efforts raise obvious Erie concerns. Erie Railroad v.

Tompkins, 304 U.S. 64, 78 (1938) (“There is no federal general common law”); Van Dusen v.

Barrack, 376 U.S. 612 (1964); Anschutz Corp. v. Merrill Lynch & Co., 690 F.3d 98, 112 (2d Cir.

2012). In short, Gap’s apparent ulterior motive to drag the landlords – in contravention of all of

the leases’ forum-selection clauses – to Gap’s home turf contravenes 28 U.S.C. § 1407’s

objective of justice.22




22
   Indeed, in light of these news reports, whether Gap seeks efficient and just resolution of the
Rent Disputes is dubious at best. See https://www.sfchronicle.com/business/amp/Gap-s-future-
lies-with-Bankruptcy-Court-7943518.php; https://www.natlawreview.com/article/20-retailers-to-
watch-bankruptcy-filing-second-half-2020.


                                                 19
         Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 26 of 27



       C.      Transfer to the N. D. of California Undermines the Goals of 28 U.S.C. § 1407
       As discussed above, only Gap benefits from a transfer to the Northern District of

California. Even then, the benefit is superficial because there is no need for discovery from Gap

(or very limited) and it will be focused on its retail stores, not its corporate decision, which Gap

has repeatedly admitted as being the basis to cease paying rent. Further, there are no actions

currently pending in the Northern District of California. As these are simple, straightforward

disputes, there is no legitimate reason to transfer them all to San Francisco.
                Moreover, and only to the extent the Panel decides to transfer the Rent Disputes,

including the Ponte Gadea Dispute (which is even more factually disparate than the others), a

more sensible location is New York City, either the Southern or Eastern District. New York City

presently has four disputes pending, is where COVID-19 had arguably the greatest national

impact, has districts courts well-versed in significant commercial real estate disputes (including

rent disputes), and uniquely has a history of evaluating significant force majeure events, such as

the tragic events of September 11, 2011. Further, two dispositive motions are pending (or poised

to be) in these districts and thus they will be most familiar with the legal and factual details of

the cases, with whether early resolution is proper (as Ponte Gadea contends) or if some (very)

limited discovery is necessary. Even then, these districts courts will be familiar with what limited

discovery is necessary and can tailor a discovery plan that will efficiently and expediently move

these Rent Disputes towards resolution.

                                       V.     CONCLUSION

       For the foregoing reasons, the Panel should deny Gap’s Transfer Motion and award Ponte

Gadea its fees and costs incurred in responding to this Transfer Motion, as provided in Section

23.3 and 24.1 of the Lease.




                                                20
       Case NYS/1:20-cv-04541 Document 8 Filed 08/28/20 Page 27 of 27




Dated: New York, New York
August 28, 2020                       AKERMAN LLP

                                      By: /s/ Darryl R. Graham            .
                                        Darryl R. Graham
                                        Darryl.Graham@akerman.com
                                        Kathleen M. Prystowsky
                                        Kathleen.Prystowsky@akerman.com
                                      520 Madison Avenue, 20th Floor
                                      New York, New York 10022
                                      Tel: (212) 880-3800
                                      Fax: (212) 259-7181

                                      Attorneys for Defendant
                                      Ponte Gadea New York LLC




                                     21
